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MUTUAL AGREEMENT TO INDIVIDUALLY ARBITRATE DISPUTES


It is the Company’s goal to provide you (the “Employee”) with a rewarding work environment. Disputes related
to work can arise, however, and, if not resolved informally, can be disruptive, costly, and time consuming to
resolve. Arbitration is an alternative to the traditional lawsuit and may resolve disputes more quickly and with
less cost. In a traditional lawsuit, issues are resolved in court by a judge or a jury. In arbitration, issues are
resolved outside of court by an independent third-party, known as an arbitrator.

MANDATORY ARBITRATION. THE EMPLOYEE AND COMPANY AGREE THAT ANY COVERED
CLAIM (DEFINED BELOW), WHETHER BASED IN CONTRACT, TORT, STATUTE, COMMON
LAW, FRAUD, MISREPRESENTATION OR ANY OTHER LEGAL OR EQUITABLE THEORY,
SHALL BE SUBMITTED TO INDIVIDUAL BINDING ARBITRATION.

Covered Claims. Except as explained in the section “Claims Not Covered” below, this Mutual Agreement to
Individually Arbitrate Disputes (this “Agreement”) covers all past, current, and future grievances, disputes,
claims, issues, or causes of action (collectively, "claims") under applicable federal, state or local laws, arising
out of or relating to (a) Employee's application, hiring, hours worked, services provided, and/or employment
with the Company or the termination thereof, and/or (b) a Company policy or practice, or the Company’s
relationship with or to a customer, vendor, or third party, including without limitation claims Employee may
have against the Company and/or any Covered Parties (defined below), or that the Company may have against
Employee.

The claims covered by this Agreement include, but are not limited to claims asserted under or relating to: (i)
Title VII of the Civil Rights Act of 1964 and similar state statutes; (ii) Age Discrimination in Employment Act
and similar state statutes; (iii) Fair Labor Standards Act or similar state statutes; (iv) Family and Medical Leave
Act or similar state statutes; (v) Americans with Disabilities Act or similar state statutes; (vi) injuries you believe
are attributable to the Company under theories of product liability, strict liability, intentional wrongdoing, gross
negligence, negligence, or respondeat superior; (vii) actions or omissions of third parties you attribute to the
Company; (viii) claims brought pursuant to actual or alleged exceptions to the exclusive remedy provisions of
state workers compensation laws; (ix) Consolidated Omnibus Budget Reconciliation Act of 1985; (v) federal
and state antitrust law; (xi) issues regarding benefits, bonuses, wages, penalties, co-employment, or joint
employment; (xii) contracts between you and the Company; (xiii) personal or emotional injury to you or your
family; (xiv) federal, state, local, or municipal regulations, ordinances, or orders; (xv) any common law, or
statutory law issues relating to discrimination by sex, race, age, national origin, sexual orientation, family or
marital status, disability, medical condition, weight, dress, or religion or other characteristic protected by
applicable law; (xvi) wrongful retaliation of any type, including retaliation related to workers’ compensation
laws or employee injury benefit plan actionable at law or equity; and (xvii) misappropriation of confidential
information or other acts or omissions by you.

Without limiting the above, the Employee and the Company each specifically acknowledges and agrees that all
claims involving minimum wages, overtime, unpaid wages, expense reimbursement, wage statements, and
claims involving meal and rest breaks shall be subject to arbitration under this Agreement.

The Employee and the Company each specifically acknowledges and agrees that any claims brought by the
Employee against any of the Covered Parties, whether brought jointly or severally with claims against the
Company, shall be subject to arbitration under this Agreement. “Covered Parties” means the Company, any
entity formerly or currently owned, affiliated, controlled or operated by the Company (a “company entity”),
clients of the Company or a company entity, and the former and current officers, directors, managers,
employees, owners, attorneys, agents, and vendors of the Company and/or a company entity and/or clients of the
Company.

Claims Not Covered. This Agreement does not apply to: (i) claims for workers' compensation or
unemployment benefits; (ii) claims expressly precluded from being arbitrated by a governing federal statute; (iii)
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claims that, under applicable state law that is not preempted by the Federal Arbitration Act, the parties cannot
agree to arbitrate; (iv) claims that must be brought before the National Labor Relations Board (“NLRB”); (v)
claims for any relief asserted under or governed by the Employee Retirement Income Security Act of 1974
(“ERISA”) (the resolution of ERISA claims will be governed by the terms of the applicable plan and/or
applicable law); (vi) actions to confirm, vacate, modify, or correct an arbitrator’s award; (vii) sexual harassment
or sexual assault claims, except if the Employee chooses to submit them to arbitration under the terms of this
Agreement; and (viii) nothing in this Agreement prohibits the filing any claim or charge with a government
administrative agency (for example, the Equal Employment Opportunity Commission, NLRB, Securities and
Exchange Commission, or a similar state regulatory agency). To the extent such a claim is not resolved before
the agency, it is subject to arbitration under this Agreement rather than proceeding in court.

Waiver of Class, Collective, Consolidated and Representative Action Claims. Each of the Employee and the
Company expressly intends and agrees, to the absolute maximum extent permitted by law, that: (a) class action,
collective action, or consolidated action procedures are hereby waived and shall not be asserted in arbitration or
in court, nor will they apply in any arbitration pursuant to this Agreement; (b) representative action procedures
are hereby waived and shall not be asserted in arbitration or in court, nor will they apply in any arbitration
pursuant to this Agreement; (c) each will not assert class action, collective action, consolidated action or
representative action claims against the other in arbitration or court or otherwise; and (d) the Employee and the
Company shall only submit their own, individual claims in arbitration and will not seek to represent the interests
of any other person. No arbitrator selected to arbitrate any claim covered by this Agreement is authorized to
arbitrate any claim on a class, collective, consolidated, or representative basis.

In the event the waiver of representative actions is found to be unenforceable in whole or in part, then the
representative action will be heard in court, not arbitration, as to the portion of the representative claim to which
the waiver is found to be unenforceable and all other Covered Claims will remain subject to arbitration. In that
event, the representative claim in court shall be stayed until the arbitration is concluded, unless such stay is
contrary to applicable law.

Notwithstanding any provision in the applicable arbitration rules, a court of law must resolve any dispute
concerning the validity and enforceability of the Agreement, and the validity, enforceability or interpretation of
the provisions pertaining to class, collective, and representative action waivers. The arbitrator must resolve all
other disputes, including the arbitrability of claims pursuant to such other provisions.

Neutral Arbitrator. The arbitration will be administered by an independent and neutral arbitrator from the
American Arbitration Association (“AAA”) in accordance with the AAA Employment Arbitration Rules and
Mediation procedures (“AAA Rules”) available online at www.adr.org/employment (or to be provided upon
request). If, however, the AAA Rules are inconsistent with the terms of this Agreement, the terms of this
Agreement shall govern. The arbitrator has no relationship with the Company and, just as a judge in a lawsuit
would, provides an impartial resolution to the dispute. The arbitrator will be selected by mutual agreement of the
parties from a list of arbitrators provided by the AAA. If for any reason the AAA will not administer the
arbitration, the party seeking arbitration may initiate the arbitration with JAMS (www.jamsadr.com) or other
recognized arbitration services provider.

Claims Procedure. A demand for arbitration must be in writing and filed with AAA. Written notice of any
Company claim will be delivered by certified or registered mail, return receipt requested, to the last known
address of Employee. The written notice shall identify and describe the nature of all claims asserted and the facts
upon which such claims are based. Written notice of arbitration shall be initiated within the same time
limitations that federal or state law applies to those claim(s).

Arbitration Fees and Costs. The Employee will pay $200 towards any arbitration filing fee, and the Company
will pay all other arbitration filing fees as well as the arbitrator’s fees. If any party prevails on a statutory claim
that affords the prevailing party attorneys' fees and costs, or if there is a written agreement providing for
attorneys' fees and costs, the party can recover attorneys’ fees and costs to the same extent as if the claim had
been brought in court. Any dispute as to the reasonableness of any fee or cost shall be resolved by the arbitrator.
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Applicable Law and Effect of Decisions.

      Interpretation and Enforcement of the Agreement: The Federal Arbitration Act (“FAA”) and federal
      common law applicable to arbitration shall govern the interpretation and enforcement of this Agreement.
      If, for any reason, the FAA or federal common law is found not to apply to this Agreement (or its
      agreement to arbitrate), then applicable state law shall govern.
      Pre-hearing Motions: Only claims that are recognized under existing law may be heard by the arbitrator.
      Any party to the arbitration shall have the right to file a motion to dismiss and/or a motion for summary
      judgment, which the arbitrator shall decide by application of the standards under the Federal Rules of
      Civil Procedure governing such motions.
      Substantive Law: The arbitrator shall apply the substantive state or federal law (and the law of remedies, if
      applicable) applicable to the claim(s) asserted.
      Written Decisions and Awards: The arbitrator shall render a written decision explaining his or her findings
      and conclusions. The arbitrator's decision shall be final and binding upon the parties to the arbitration,
      subject only to review under the FAA (or applicable state law).
      No Preclusive Effect: The arbitrator’s decisions and awards shall have no preclusive effect as to issues or
      claims in any other arbitration or court proceeding, unless all of the parties in the other proceeding were
      also a named party in the arbitration in which the award or decision was issued.

Severability. If any provision of this Agreement to arbitrate is adjudged to be void or otherwise unenforceable,
in whole or in part, the void or unenforceable provision shall be severed and such adjudication shall not affect
the validity of the remainder of this Agreement to arbitrate. The only exception is that this Agreement is not, and
shall never be construed as, reformed to be, or enforced as if it were, an agreement to arbitrate claims on a class,
collective, consolidated, or representative basis. Stated differently, under no circumstance will a claim be
allowed to proceed in arbitration as a class action, collective action, consolidated action, or representative action.

Waiver of Trial by Jury. Each of the Employee and the Company understands and fully agrees that by
entering into this Agreement to arbitrate, each agrees to resolve all claims through arbitration and is
giving up the right to have a trial by jury and the right of appeal following the rendering of a decision
except on the grounds for reviewing an arbitration award under the Federal Arbitration Act (“FAA”) or
applicable state law.

Term of Agreement. This Agreement to arbitrate shall survive the termination of Employee's employment.

Entire Agreement. This Agreement constitutes the entire agreement between the Company and Employee
regarding the subject matter herein and supersedes any and all prior agreements and understandings regarding
the subject matter. This Agreement cannot be amended or modified except by a written agreement between the
parties.

Employee Acknowledgment. I understand that by clicking on the “I Agree and Accept” Button below that I
agree to the terms of, and agree to be bound by, this Agreement. I further agree and acknowledge that my
acceptance of or continuing employment with the Company provides further evidence of my agreement to
accept and be bound by the terms of this Agreement. I understand that this Agreement will remain in effect after
my employment ends and that nothing in this Agreement modifies the at-will nature of my employment.
